     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 1 of 55



UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

----------------------------------X




In re IMAX SECURITIES LITIGATION

                                                    MEMORANDUM AND ORDER



----------------------------------X                  06 Civ. 6128 (NRB)

NAOMI REICE BUCHWALD

UNITED STATES DISTRICT JUDGE



     This   is    a   securities   fraud    class    action    under    Sections

10(b) and 20(a) of the Securities Exchange Act, 15 U.S.C. §§ 78j

and 78t(a), and Rule 10b-5, 17 C.F.R. § 240.10b-5, brought on

behalf of all persons who purchased or acquired common stock in

IMAX Corporation (“IMAX” or “the Company”) on the NASDAQ between

February    27,   2003   and   July   27,   2007    (“the     Class    Period”).1


1
 In its motion for class certification, filed on April 22, 2010,
Lead Plaintiff Snow Capital Investment Partners, L.P. (“Snow
Capital” or “Lead Plaintiff”) proposed a Class that included all
those who acquired IMAX stock during the proposed Class Period
(i.e., not just those who acquired IMAX stock on the NASDAQ).
See Memorandum of Law in Support of Plaintiff’s Motion for Class
Certification (“Pl. Mem.”) at 1 n.1. On June 24, 2010, the U.S.
Supreme Court decided Morrison v. National Australia Bank Ltd.,
130 S. Ct. 2869 (2010), adopting a “transactional” test for
determining whether a plaintiff has a claim under § 10(b).
                                1
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 2 of 55



Plaintiffs allege that the defendants, IMAX, Richard L. Gelfond,

Bradley J. Wechsler, Francis T. Joyce, and Kathryn A. Gamble

(collectively,             the         “IMAX             defendants”),         and

PricewaterhouseCoopers           LLP       (“PWC”)        (collectively,      the

“defendants”), issued materially false and misleading statements

concerning       IMAX’s   accounting      of   theater    system   revenue.    On

September 16, 2008, we denied defendants’ motions to dismiss

plaintiffs’ Consolidated Class Action Complaint (“Complaint”).

In   re   IMAX    Sec.    Litig.,   587    F.Supp.2d      471   (S.D.N.Y.   2008).

Familiarity with that opinion is assumed.


      By Memorandum and Order dated June 29, 2009, we appointed

Snow Capital lead plaintiff in this class action.2                  Snow Capital



Under Morrison, the relevant question is “whether the purchase
or sale [of the security] is made in the United States, or
involves a security listed on a domestic exchange . . . .” Id.
at 2886.      In light of Morrison, Snow submitted a revised
definition of the proposed Class that only includes those who
purchased IMAX shares on the NASDAQ, and thus excludes those who
purchased IMAX securities on the Toronto Stock Exchange. Reply
Memorandum of Law in Further Support of Plaintiff’s Motion for
Class Certification (“Pl. Reply Mem.”) at 1 n.3.
2
  Snow Capital is the second lead plaintiff in this case. After
we originally appointed Westchester Capital Management, Inc.
(“Westchester Capital”) lead plaintiff on January 17, 2007, the
Second Circuit decided W.R. Huff Asset Management Co., LLC v.
Deloitte & Touche LLP, 549 F.3d 100 (2d Cir. 2008), holding that
an investment advisor lacked standing to bring a securities
fraud claim on behalf of its clients because it did not suffer
an injury in fact.     Relying on Huff, Snow Capital moved for
reconsideration of our Order appointing Westchester Capital lead
plaintiff.   On June 29, 2009, we granted Snow Capital’s motion
for reconsideration, appointed it lead plaintiff, and designated
                                2
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 3 of 55



now moves for an order (1) certifying this action as a class

action on behalf of those who acquired the common stock of IMAX

on the NASDAQ during the Class Period, (2) certifying it as

Class Representative, and (3) appointing Robbins Geller as class

counsel.3    For the following reasons, Snow Capital’s motion is

DENIED.


                                BACKGROUND


     IMAX is an entertainment technology company specializing in

digital and film-based motion picture technologies and large-

format film presentations.4       The Company’s main business is the

design, manufacture, sale and lease of theater systems.5               As of

December    31,   2006,   the   IMAX   theater   network   included      284

theaters operating in 40 countries.6


     The majority of IMAX’s revenue during the class period was

derived from the sale and lease of theater systems to third-

party owners of large-format theaters.7           Throughout the class


Robbins Geller Rudman & Dowd LLP (“Robbins Geller”) lead counsel.
In re IMAX Sec. Litig., 2009 WL 1905033 (S.D.N.Y. June 29,
2009).   Snow Capital then filed the present motion for class
certification.
3
  Robbins Geller was previously known as Coughlin Stoia Geller
Rudman & Robbins LLP. The firm’s name change was effective March
31, 2010. See Pl. Mem. at 11 n. 10.
4
  Affidavit of Edward Macneil (“Macneil Aff.”), ¶ 6.
5
  Id.
6
  Id.
7
  See Compl. ¶ 62.
                                3
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 4 of 55



period,    IMAX    reported      upward-trending        financial      results:    16

theater      system      installations        (“installs”)    and      $71    million

revenue for fiscal year 2002; 21 installs and $75.8 million

revenue for 2003; 22 installs and $86.6 million revenue for

2004; and 39 installs and $99.7 million revenue for 2005.8


     On      February      17,   2006,     IMAX      issued   a     press     release

announcing its 2005 financials and reporting that the Company

had completed 14 theater system installations during the fourth

quarter of 2005.9         On March 9, 2006, IMAX filed its Form 10-K for

fiscal year 2005 (“2005 10-K”), describing a “record” 14 theater

system installations and $35.1 million revenue in the fourth

quarter.10


     Five months later, on August 9, 2006, IMAX announced that

it was responding to an informal inquiry from the Securities and

Exchange     Commission     (“SEC”)      concerning    the    timing    of    revenue

recognition       and,    specifically,        its   application       of    multiple

element    arrangement       (“MEA”)     accounting      derived     from    theater

system sales and leases.11          The August 9th press release included

the following information concerning the SEC investigation and

the Company’s accounting of theater revenue:


8
   Id. ¶¶ 71, 79, 87, 107.
9
   Id. ¶ 100.
10
    Id. ¶¶ 102, 107.
11
    Id. ¶¶ 115-16.
                                          4
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 5 of 55



     The Company indicated that it is in the process of
     responding to an informal inquiry from the U.S.
     Securities and Exchange Commission regarding the
     Company’s timing of revenue recognition, including its
     application of multiple element arrangement accounting
     to its revenue recognition for theatre systems. Under
     multiple element arrangement accounting, the revenues
     associated with different elements of an IMAX theatre
     system contract are segregated and can be recognized
     in different periods.    The Company recognized revenue
     in the fourth quarter of 2005 on 10 theatre
     installations in theatres which did not open in that
     quarter, and in seven of those cases, revenue
     associated with the screen element of the system was
     deferred until the final screen was installed.       Of
     these seven installations, three theatres had their
     screens completed in the first quarter of 2006, two in
     the second quarter of 2006, and screens in the
     remaining   two   theatres   have   either  since  been
     completed or are expected to be completed over the
     remainder of 2006.      The value associated with the
     elements other than the screen elements of those
     system installations was recognized in the fourth
     quarter when they were substantially completed.     The
     Company   believes   its   application   of  the  above
     accounting policy is, and has historically been, in
     accordance with GAAP, and the Company’s position is
     supported by its auditors, PricewaterhouseCoopers LLP.
     This accounting policy has similarly been applied to
     one theatre installation in the second quarter of
     2006, where revenue associated with the screen element
     has been deferred to a future period. The Company is
     cooperating in this inquiry.12
In addition to disclosing the SEC investigation, the August 9th

announcement   stated    that    the    Company’s    discussions       with




12
  Id. ¶ 115; Declaration of James D. Matthews in Support of
Defendants IMAX Corporation, Richard L. Gelfond, Bradley J.
Wechsler, Francis T. Joyce and Kathryn A. Gamble’s Opposition to
Plaintiffs’ Motion for Class Certification (“Matthews Decl.”),
Ex. F.
                                5
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 6 of 55



potential      buyers    and     strategic        partners    had      faltered.13         The

following      day,    the     price   of    IMAX    shares       fell    from     $9.63   to

$5.73.14


       On March 29, 2007, IMAX announced that, based on comments

it     had    received    from     the      SEC     and    the     Ontario       Securities

Commission,       it     was     expanding         its     review,        “primarily       in

connection      with     its    revenue     recognition          for     certain    theater

system installations in previous periods, including the fourth

quarter of 2005.”15             Because of this “expanded review,” IMAX

stated that it “may determine that it is necessary to restate

additional items beyond the previously identified errors.”16


       Four months later, on July 20, 2007, IMAX filed its Form

10-K    for    fiscal    year     2006      (“2006       10-K”),    which    included       a

restatement      of     its    financial      results       for    fiscal    years     2002

through the first three quarters of 2006.                    The 2006 10-K stated:


       [T]he Company revised its policy to require that (i)
       the projector, sound system and screen system be
       installed and are in fully working condition, the 3D
       glasses cleaning machine, if applicable, be delivered
       and projectionist training be completed, and (ii)
       written customer acceptance thereon received, or the




13
     Matthews Decl., Ex. F.
14
     Id. ¶¶ 115, 119.
15
     Id. ¶ 127.
16
     Id.
                                             6
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 7 of 55



       public opening of the theater            take   place,    before
       revenue can be recognized.17
The press release announcing the restatement also described the

Company’s previous method of revenue accounting:


       Under the former method for recording revenues under
       multiple element arrangement accounting, as reflected
       in the Company’s 2005 10-K, the Company recognized
       revenue when the projector and sound system were
       installed   and    deferred   revenue   recognition   of
       components deemed to be separate deliverables until
       their subsequent installation, such as the screen. . .
       . After extensive review and consideration, the
       Company determined that the screen, 3-D glasses
       cleaning   machine   and   initial  services   including
       projectionist training should be considered one single
       deliverable.     In addition, the Company will now
       require receipt of a signed acceptance from each
       client before recognizing revenue upon the opening of
       the theatre.18
As a result of the restatement of theater system revenue, 16

installation transactions representing $25.4 million in revenue

shifted between quarters in their originally reported years, and

14    installation     transactions    representing      $27.1   million   in

revenue shifted between fiscal years.19           Of the 14 transactions

for    which      revenue   shifted   between   fiscal    years,   one     was

originally recorded as revenue in fiscal year 2002, two were




17
     Id. ¶ 145.
18
     Id. ¶ 139.
19
     Id.
                                       7
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 8 of 55



recorded in fiscal year 2004, ten in fiscal year 2005, and one

in fiscal year 2006.20


       The essence of plaintiffs’ Complaint is that, throughout

the class period, the IMAX defendants issued materially false

and    misleading      statements     concerning    IMAX’s     accounting     of

theater system revenue:


       Throughout the Class Period, IMAX publicly stated that
       revenue from theater systems sales and sales-type
       leases was recognized upon installation of the theater
       system. However, as the Company was ultimately forced
       to disclose, this was not the case . . . . In order
       to meets its earnings targets, IMAX improperly
       accelerated its revenue recognition on theater systems
       and concomitantly, reported earnings thereon, when
       only certain elements of its systems were installed .
       . . . This piecemeal revenue recognition violated GAAP
       . . . .21
With    regard   to    PWC,   the   Complaint   alleges     that   PWC’s   audit

opinions,     issued    in    connection    with   IMAX’s    10-Ks   for    2002

through 2005 were materially misleading22, and that:


       Because PWC failed to conduct an audit in accordance
       with [Generally Accepted Auditing Standards (“GAAS”)]
       and   [Public   Company   Accounting   Oversight   Board
       (“PCAOB”)] standards, and issued clean opinions on
       IMAX’s 2002-2005 financial statements, it is also
       responsible    for    the     material    misinformation
       disseminated to the investing public during the Class
       Period.23


20
     2006 10-K at 91.
21
     Compl. ¶ 40.
22
     Id. ¶ 124.
23
     Id. ¶ 149.
                                        8
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 9 of 55



Relevant Accounting Principles and IMAX’s Theater System
Accounting Policy
     IMAX’s publicly stated revenue recognition policy evolved

significantly since 1999.            To some extent, the changes in IMAX’s

policy reflected changes in the relevant accounting standards

governing revenue recognition.24


                                     1. Pre-2000
     Before       January     1,   2000,    IMAX       recognized    theater       system

revenue     “on     the    completed      contract       method     (that   is,        upon

delivery of the system).”25


                            2. Fiscal Years 2000-2003
     From     fiscal       year    2000    through      2003,     IMAX    stated       that

revenue     would    be     recognized      “at    the     time     of   the     theater

installation.”26          This revenue recognition policy was in response

to the SEC Staff Accounting Bulletin No. 101 (“SAB 101”), which

stated    that     revenue     should      not    be    recognized       until    it    is


24
   For a more detailed summary of the evolution of IMAX’s theater
system accounting policy, as well as a discussion of the
relevant accounting principles, see In re IMAX Sec. Litig., 587
F. Supp. 2d at 475-78.
25
   Compl. ¶ 41.
26
   Id. ¶¶ 42-44; see also IMAX 10-K405 for fiscal year ending
December 31, 2000, filed April 2, 2001 (“2000 10-K”) at 15, 30,
31; IMAX 10-K405 for fiscal year ending December 31, 2001, filed
March 25, 2002 (“2001 10-K”) at 17, 36, 58; IMAX 10-K/A for
fiscal year ending December 31, 2002, filed February 27, 2004
(“2002 10-K”) at 21, 44; IMAX 10-K/A for fiscal year ending
December 31, 2003, filed September 13, 2004 (“2003 10-K”) at 20,
24, 50.
                                9
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 10 of 55



“realized       or   realizable    and   earned,”     which   generally   occurs

when:     (1)    persuasive   evidence     of    an   agreement   exists,    (2)

delivery has occurred or services have been rendered, (3) the

seller’s price to the buyer is fixed or determinable, and (4)

collectability is reasonably assured.27               As we previously noted,

“although SAB 101 provided specific criteria for when revenue

may be recognized, it did not directly address the precedent

question of what is the unit of accounting – a complicated issue

in arrangements involving multiple elements.”28


                              3. Fiscal Year 2004
        In its Form 10-K for fiscal year 2004, filed March 11,

2005,    IMAX    disclosed    that   ”[t]he     Company   recognizes   revenues

from sales and sales-type leases generally upon installation of

the theater-system.”29            In a section titled “Multiple Element

Arrangements,” IMAX stated that “[o]n occasion, the Company will

include film licenses or other specified elements as part of

system sales or lease agreements . . . . Revenues under these



27
    See Macneill Aff., Ex. A, at 3.      In addition to SAB 101,
Statement of Financial Accounting Concepts No. 5 (“FASCON 5”)
provides that revenue “recognition involves consideration of two
factors (a) being realized or realizable and (b) being earned
.... [R]evenues are considered to have been earned when the
entity has substantially accomplished what it must do to be
entitled to the benefits represented by the revenues.” Compl. ¶
45.
28
   In re IMAX Sec. Litig., 587 F.Supp.2d at 476.
29
   2004 10-K at 25.
                                10
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 11 of 55



arrangements      are   allocated    based     upon   the    estimated      relative

fair values of each element.”30


        IMAX’s    accounting   policy    for    fiscal       year   2004    in     part

reflected new guidance on revenue recognition from the Emerging

Issues Task Force (“EITF”) of the Financial Accounting Standards

Board (“FASB”).         In May 2003, the EITF issued EITF 00-21, which

states that “[i]n an arrangement with multiple deliverables, the

delivered     item(s)     should    be   considered      a    separate      unit    of

accounting if all of the following criteria are met:


        (a) The delivered item(s) has value to the customer on
        a standalone basis.     That item(s) has value on a
        standalone basis if it is sold separately by any
        vendor or the customer could resell the delivered
        item(s) on a standalone basis.    In the context of a
        customer’s ability to resell the delivered item(s),
        the Task Force observed that this criterion does not
        require the existence of an observable market for that
        deliverable(s);
        (b) There is objective and reliable evidence of the
        fair value of the undelivered item(s);
        (c) If the arrangement includes a general right of
        return relative to the delivered item, delivery or
        performance of the undelivered item(s) is considered
        probable and substantially in the control of the
        vendor.31
While      EITF   00-21    addressed     the     question      of    what     should

constitute a separate unit of accounting, it explicitly did not




30
      Compl. ¶ 51.
31
     See Macneill Aff., Ex. B, at 7.
                                   11
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 12 of 55



address     the     determination         of   when   the    criteria      for      revenue

recognition are met -- the question considered in SAB 101.32


                                  4. Fiscal Year 2005
        IMAX     disclosed    a    more    expansive     application         of    multiple

element accounting in its 2005 Form 10-K, filed on March 9,

2006.       As    stated     in   the     Form   10-K,      the    Company     recognized

revenue “when the installation of the respective theater system

element     [was]    substantially         complete.”33           The   2005      Form   10-K

further stated:


        The Company’s system sales and lease transactions
        typically involve the delivery of several products and
        services, including the projector, projection screen
        and   sound   system,    supervision of   installation,
        training of theater personnel, and advice on theater
        design and custom assemblies.        In addition, on
        occasion, the Company will include film licenses or
        other    specified    elements    as part    of   these
        transactions.
        When the elements of theater systems meet the criteria
        for treatment as separate units of accounting, the
        Company generally allocates revenue to each element
        based on its relative fair value.     Revenue allocated
        to an individual element is recognized when revenue
        recognition criteria for that element is met.34
As we previously observed, “IMAX’s stated understanding of the

relevant unit of accounting appears to have drifted over time,

from an initial focus on ‘theater systems’ in 2000, 2001, 2002,

32
   See Id., Ex. B, at 2. (EITF 00-21 “does not address when the
criteria for revenue recognition are met.”).
33
    2005 10-K at 34.
34
    Id. at 34, 64.
                                12
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 13 of 55



2003, and 2004, to ‘theater system elements’ in 2005.”              In re

IMAX Sec. Litig., 587 F.Supp.2d at 478.


                                  DISCUSSION


  I. Legal Standards

     In order to qualify for certification as a class action, a

proposed class must meet the requirements of Federal Rule of

Civil Procedure 23(a) -- numerosity, commonality, typicality,

and adequacy -- and one of the subsections of Rule 23(b).               See

In re Salomon Analyst Metromedia Litig., 544 F.3d 474, 478 (2d

Cir. 2008).    A district court can only certify a class action

if, “after a rigorous analysis,” it is satisfied that the Rule

23 requirements have been met.           In re Initial Pub. Offerings

Sec. Litig., (“In re IPO”), 471 F.3d 24, 33 (2d Cir. 2006)

(internal quotation marks omitted).         The court’s obligation to

conduct a rigorous analysis of whether the Rule 23 requirements

have been met “is not lessened by overlap between a Rule 23

requirement and a merits issue, even a merits issue that is

identical with a Rule 23 requirement.”         Id. at 41.     “In re IPO

makes clear that courts may resolve contested factual issues

where necessary to decide on class certification.” McLaughlin v.

Am. Tobacco Co., 522 F.3d 215, 228 (2d Cir. 2008) (quotation and

citation omitted).


                                    13
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 14 of 55



       Snow    Capital   brings    this    motion    for     class    certification

under Rule 23(b)(3), which requires that “the questions of law

or fact common to class members predominate over any questions

affecting only individual members, and that a class action is

superior to other available methods for fairly and efficiently

adjudicating       the   controversy.”         The     preponderance        of    the

evidence      standard   applies   to     evidence    proffered       to   establish

Rule    23’s     requirements.      Teamsters        Local    445     Freight    Div.

Pension Fund v. Bombardier Inc., 546 F.3d 196, 201-02 (2d Cir.

2008).

  II.    Analysis

         a. Rule 23(a) Requirements


               1. Numerosity


       In order to meet Rule 23(a)(1)’s numerosity requirement, a

plaintiff must establish that the proposed “class is so numerous

that joinder of all members is impracticable.”                   Fed. R. Civ. P.

23(a)(1).       “The numerosity requirement in Rule 23(a)(1) does not

mandate that joinder of all parties be impossible - only that

the difficulty or inconvenience of joining all members of the

class make use of the class action appropriate.” Cent. States

Se. & Sw. Areas Health & Welfare Fund v. Merck-Medco Managed

Care, LLC, 504 F.3d 229, 244-45 (2d Cir. 2007).                      “In securities

fraud class actions relating to publicly owned and nationally
                              14
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 15 of 55



listed corporations, the numerosity requirement may be satisfied

by a showing that a large number of shares were outstanding and

traded during the relevant period.”              In re Vivendi Universal,

S.A. Sec. Litig., 242 F.R.D. 76, 84 (S.D.N.Y. 2007) (internal

quotations and citation omitted).            Numerosity is presumed when a

class consists of forty members or more.              Consol. Rail Corp. v.

Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995).


        Given that the proposed Class amply exceeds forty members,

IMAX had at least 40 million shares outstanding and traded on

the     NASDAQ   during    the    proposed    Class   Period,      hundreds     of

millions of IMAX shares were traded on the NASDAQ during the

proposed     Class    Period,     and   defendants    have   not     challenged

numerosity, it is clear that the proposed class satisfies Rule

23(a)(1)’s numerosity requirement.35


             2. Commonality


        Rule 23 (a)(2) requires that a plaintiff establish that

“there are questions of law or fact common to the class.”                     Fed.

R. Civ. P. 23(a)(2).             The “commonality requirement is met if

plaintiffs’ grievances share a common question of law or of

fact.”     Cent. States Se. & Sw. Areas Health & Welfare Fund, 504

F.3d at 245.         It “tend[s] to merge” with the Rule 23(a)(3)


35
     See Pl. Mem. at 5-6.
                                        15
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 16 of 55



requirement of typicality, discussed below, because “both serve

as      guideposts        for     determining            whether       .     .     .    the    named

plaintiff’s claim and the class claims are so interrelated that

the interests of the class members will be fairly and adequately

protected in their absence.”                General Telephone Co. of Southwest

v. Falcon, 457 U.S. 147, 158 n.13 (1982).


        Snow Capital asserts that there are a number of common

questions of law and of fact, including, but not limited to

whether defendants’ statements issued during the Class Period

were materially false and misleading when issued, whether IMAX’s

financial statements failed to comply with GAAP during the Class

Period, and whether PWC’s audits of IMAX’s financial statements

during the Class Period were conducted in accordance with GAAS.36

While        defendants    do     not    appear          to   challenge          the   commonality

requirement         in    their     papers,          a    number       of     their      arguments

concerning          typicality,         addressed             below,        also       touch    upon

commonality.          However, in light of the multiple common questions

of     law    and    of   fact,    and    the     fact        that     defendants        have   not

challenged          the   commonality       requirement,               we     find      that    Rule

23(a)(2)’s commonality requirement has been satisfied.


                3. Typicality



36
     See Pl. Mem. at 7-8.
                                                16
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 17 of 55



     In order to be named Class Representative, Snow Capital

must show, by a preponderance of the evidence, that its claims

are typical of the claims of the class, and that it is “not

subject to any unique defenses which threaten to become the

focus of the litigation.”             In re Flag Telecom Holdings, Ltd.

Sec. Litig., 574 F.3d 29, 40 (2d Cir. 2009) (internal quotation

omitted).

     In In re Flag Telecom Holdings, 574 F.3d at 37-41, the

Second Circuit considered whether an “in-and-out” trader, who

sold his stock prior to an alleged corrective disclosure, could

be named a class representative.                Rejecting the district court’s

finding that it was “conceivable” that the in-and-out trader

could prove loss causation, the Second Circuit stated that “the

district    court’s    ‘conceivable’            standard      of    proof    does    not

satisfy the preponderance of the evidence standard set forth in

In re IPO and its progeny.”            Id. at 38.           The Court stated that

whether or not the proposed class representative could show loss

causation   was    “relevant    to    Rule       23(a)”     because    the     district

court “was required to find by a preponderance of the evidence

that [the proposed class representative] is both an adequate and

typical    representative      of    the    class     and     not    subject    to   any

unique    defenses    which    threaten         to   become    the    focus     of   the

litigation.”      Id. at 39-40 (internal quotation omitted).

                                           17
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 18 of 55



     Defendants        argue       that    Snow       Capital      cannot    satisfy   Rule

23(a)(3)’s         typicality       requirement             because,      amongst      other

reasons, it cannot establish loss causation.37                           While defendants

present some of their loss causation arguments in the context of

Rule 23(a)’s typicality requirement, and others in the context

of Article III standing38, we need not necessarily find that Snow

Capital    lacks     standing       to     bring       a    claim   in    its     individual

capacity   in      order     for    it    to    be    an    atypical     lead     plaintiff.

Rather,    a    plaintiff       fails      to     meet      Rule    23(a)’s       typicality

requirement if its claims are “subject to unique defenses which

threaten   to      become    the     focus       of   the    litigation.”          Baffa   v.

Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 59 (2d

Cir. 2000).         However, “[i]t is axiomatic that a putative class

representative        must     be    able      to     individually        state    a   claim

against defendants, even though he or she purports to act on

behalf    of   a    class.”).        In     re      Merrill     Lynch    &   Co.    Research

Reports Secs. Litig., 272 F.Supp.2d 243, 255 (S.D.N.Y. 2003)

Furthermore, “[a] plaintiff, including one who is seeking to act

as class representative, must have individual standing to assert

the claims in the complaint against each defendant being sued by


37
 IMAX Mem. at 17-18.
38
 Id. at 7 (arguing that Snow Capital sold prior to a potential
curative disclosure and thus lacks standing); id. at 17-18
(arguing that Snow Capital cannot show loss causation and thus
is “not a typical investor”).
                              18
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 19 of 55



him.”     Ramos v. Patrician Equities Corp., 765 F.Supp. 1196, 1199

(S.D.N.Y. 1991).            For the reasons discussed below, we find that,

at a minimum, Snow Capital is subject to unique defenses and

thus cannot satisfy Rule 23(a)’s typicality requirement.


        In order to plead a violation of §10(b) of the Securities

Exchange        Act,    a        plaintiff        must       allege        (1)        a     material

misrepresentation           or    omission          of    fact,     (2)     scienter,            (3)   a

connection       with       the    purchase         or     sale     of     a     security,         (4)

transaction and loss causation, and (5) economic loss.                                            Dura

Pharm., Inc. v. Broudo, 544 U.S. 336, 341 (2005).


        Under    the        Private         Securities           Litigation       Reform          Act,

plaintiffs have “the burden of proving” that the defendant's

misrepresentations            “caused         the        loss”     for    which           they    seek

recovery.         15    U.S.C.         §§   78u-4(b(4).             “[T]o       establish         loss

causation, ‘a plaintiff must allege ... that the subject of the

fraudulent statement or omission was the cause of the actual

loss     suffered,’         i.e.,       that        the     misstatement          or        omission

concealed       something         from      the     market        that,        when       disclosed,

negatively affected the value of the security.”                                        Lentell v.

Merrill     Lynch       &    Co.,       Inc.,       396     F.3d     161,       173        (2d    Cir.

2005)(quoting Suez Equity Investors, L.P. v. Toronto-Dominion

Bank,     250   F.3d    87,       95    (2d    Cir.       2001).         The    loss       causation

element of a securities fraud claim is sufficiently pleaded when
                               19
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 20 of 55



the complaint provides “notice of what the relevant economic

loss might be” and “what the causal connection might be between

that loss” and the alleged misrepresentations.                           See Dura, 544

U.S.    at    346-47;   see    also     In        re   Salomon    Analyst   Metromedia

Litig., 544 F.3d 474, 478 n.1 (2d Cir. 2008) (loss causation is

“a causal connection between the material misrepresentation and

the loss”); Lentell, 396 F.3d at 172 (2d Cir. 2005)(describing

loss    causation       as    “the    causal           link    between    the   alleged

misconduct     and   the     economic       harm       ultimately   suffered    by   the

plaintiff”) (internal citation omitted).                         Thus, the complaint

must allege that the “market reacted negatively to a corrective

begin[ning] to leak out.”            Dura, 544 U.S. at 342.

       While    we   previously       held        that   the   Complaint    adequately

pleads loss causation for a putative class of plaintiffs, In re

IMAX Sec. Litig., 587 F.Supp.2d at 485-86, we were not presented

with    the    question,     and     thus    did       not    address,   whether     Snow

Capital can adequately plead loss causation in its individual

capacity.      Defendants argue that Snow Capital cannot show loss

causation because


       [Snow Capital] purchased IMAX stock on three dates,
       each prior to the close of IMAX’s fourth quarter of
       2005: December 14, 2004 (40,000 shares), October 3,
       2005 (35,000), and November 3, 2005 (75,000); and only
       sold on two dates: February 7, 2005 (10,000) and
       August 10, 2006 (150,000 and extinguishing its IMAX
       position). The Complaint seeks damages based on IMAX’s

                                             20
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 21 of 55



      stock   price   drop    following   alleged    corrective
      disclosures beginning in August 2006 and continuing
      until July 2007.      However, IMAX’s August 9, 2006
      disclosure only related to theater systems recognized
      in or after the fourth quarter of 2005, and thus
      cannot have been a corrective disclosure for Snow, who
      purchased all of its IMAX stock before IMAX’s
      financials for the fourth quarter of 2005 were
      released on February 17, 2006.      Moreover, Snow sold
      its entire remaining interest in IMAX on August 10,
      2006 – before any statements alleged to be curative in
      the   Complaint  were    made   regarding   the   alleged
      misrepresentations upon which Snow could have relied
      for its purchase of IMAX stock.       Thus, Snow cannot
                                39
      establish loss causation.
It must be recognized that defendants’ argument is grounded on

the   proposition   that   IMAX’s   August   9,   2006   disclosure      only

related to theater systems recognized in or after the fourth

quarter of 2005, and thus cannot be a corrective disclosure for

Snow Capital.     Therefore, we turn to the issue of the scope of

the August 9, 2006 disclosure.


                       August 9, 2006 Disclosure


      The August 9th disclosure of the SEC investigation addressed

IMAX’s application of MEA accounting in the fourth quarter of

2005 and second quarter of 2006, an application that differed

from IMAX’s revenue recognition policy in earlier fiscal years,


39
 Letter from IMAX defendants to the Court (Aug. 2, 2010), at 2
(emphasis removed). See also Memorandum of Law in Support of
Defendants IMAX Corporation, Richard L. Gelfond, Bradley J.
Wechsler, Francis T. Joyce and Kathryn A. Gamble’s Opposition to
Snow Capital Investment Partners, L.P.’s Motion for Class
Certification (“IMAX Mem.”), at 17-18; Matthews Decl., Ex. D.
                                21
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 22 of 55



and that was described differently in IMAX’s 2005 10-K.                        See

supra.      While the August 9th disclosure stated that the SEC was

conducting an informal inquiry “regarding the Company’s timing

of revenue recognition,” the announcement, issued in the third

quarter of 2006, only mentioned theater systems installed in the

fourth quarter of 2005, and second quarter of 2006:


        The Company recognized revenue in the fourth quarter
        of 2005 on 10 theater installations in theaters which
        did not open in that quarter, and in seven of those
        cases, revenue associated with the screen element of
        the system was deferred until the final screen was
        installed. . . . The value associated with the
        elements other than the screen elements of those
        system installations was recognized in the fourth
        quarter when they were substantially completed. . . .
        This accounting policy has similarly been applied to
        one theatre installation in the second quarter of
        2006, where revenue associated with the screen element
        has been deferred to a future period.40
As discussed below, no pre-fiscal year 2005 theater system for

which revenue was ultimately restated involved the recognition

of revenue for a theater in which the screen element had not

been     installed,    or     was   caused     by    a   misapplication   of    the

accounting principles under EITF-0021.41


        Furthermore,    the    August    9th    disclosure’s     description     of

IMAX’s     MEA   accounting     policy    was       consistent   with   the    more

expansive application of the accounting policy first disclosed


40
     Compl. ¶ 115; Matthews Decl., Ex. F.
41
     Macneil Aff. at ¶ 34.
                                   22
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 23 of 55



in the Company’s 2005 10-K.              The disclosure stated that “[u]nder

multiple element arrangement accounting, the revenues associated

with different elements of an IMAX theatre system contract are

segregated and can be recognized in different periods.”42                             As we

noted     above,      this       application         of     the       Company’s     revenue

recognition policy differed from that which was both applied and

disclosed in earlier fiscal years.


     While a disclosure of a government investigation may be

sufficient to adequately plead loss causation (see In re Take-

Two Interactive Sec. Litig., 551 F.Supp.2d 247, 286-87 (S.D.N.Y.

2008); Police and Fire Ret. Sys. of the City of Detroit v.

Safenet,     Inc.,       645   F.Supp.2d        210,      230     (S.D.N.Y.     2009)),     a

corrective disclosure for the purposes of loss causation should

place investors on notice of the "type of specific fraudulent

accounting practices that [p]laintiffs allege."                               Safenet, 645

F.Supp.2d     at   231.          Here,   while       the    disclosure         of   the   SEC

investigation         specifically           addressed      IMAX’s       MEA    accounting

policy     that    was    applied       in    4Q    2005,       and   disclosed     in    the

Company’s      2005      10-K,     it    did       not    address,       or    suggest     an


42
 See 2005 10-K at 64 (“When the elements of theater systems meet
the criteria for treatment as separate units of accounting, the
Company generally allocates revenue to each element based on its
relative fair value. Revenue allocated to an individual element
is recognized when revenue recognition criteria for that element
is met.”).
                               23
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 24 of 55



investigation         into,       IMAX’s         accounting     practices      in    earlier

periods.


       We find that the August 9th announcement’s specificity with

regard to the subject of the SEC investigation, identification

of a particular number of theater systems for which, and fiscal

quarters in which, revenue was recognized under the application

of    the    accounting       policy          at    issue,    and      description    of    an

application of MEA accounting that focused on the timing of

revenue recognition as it relates to the installation of the

screen      element     of    a    theater          system,    all     suggest      that   the

announcement          was    not       a     corrective       disclosure      for     alleged

misstatements beyond those that fall within both the temporal

(4Q    2005     and     later)         and       topical   (the     application      of    MEA

accounting      described         in       the    announcement)      limitations      of   the

disclosure      itself.           This       interpretation       is    supported     by   the

market’s      understanding            of    the    announcement,        as   evidenced     by

analyst reports issued the following day:


           “The specific instance in question relates to the
            Company’s 4Q05 revenues.” Roth Capital Partners, August
            10, 2006.43

           “The SEC has initiated an informal inquiry about the
            timing of revenue recognition and use of multiple element
            arrangement   accounting  associated   with  10   theatre



43
     Declaration of Lucy P. Allen (“Allen Decl.”), at 29.
                                  24
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 25 of 55



           installations recognized in 4Q05.”              Soleil Securities,
           August 10, 2006.44

          “Late Wednesday, the company said it is responding to an
           informal inquiry from the U.S. Securities and Exchange
           Commission regarding the timing of revenue recognition.
           The concern involves revenue recognized during the fourth
           quarter of 2005 for 10 Imax installations in theaters
           that did not open in that quarter.” The Canadian Press,
           August 10, 2006.45

          A potential restatement of IMAX’s financials “might move
           some revenue from prior quarters into more recent
           quarters throughout FY 06.” Merriman Curhan Ford, August
           10, 2006.46


                             Snow Capital’s Arguments


      Snow     Capital     presents   seven     arguments    in    response    to

defendants’ loss causation position.            We consider each in turn.


      First, Snow Capital argues that the August 9th disclosure

put   it    “on   notice    of   problems     and   potential     problems    that

convinced     [Richard     Snow,   the   founder     and   president    of    Snow

Capital] to sell Snow Capital’s IMAX securities the following

day.”47     Snow Capital quotes from the deposition of Richard Snow,

in which he testified about the factors that led to his decision

to sell the remaining portions of Snow Capital’s holding of IMAX

stock on August 10, 2006:


44
    Id.
45
    Id.
46
    Id. at 24.
47
   Pl. Reply Mem. at 13.
                                         25
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 26 of 55



       From my experience, management had lost credibility.
       What I was specifically concerned about is they had a
       great deal of debt on the balance sheet, and I was
       concerned that it would be possible that maybe, with
       the inquiry, they somehow could have some sort of a
       technical loan default which would have endangered the
       company’s ability to ultimately reap the benefits of
       their purported optimistic future, so I exited the
       position.48


Mr. Snow’s testimony does not support Snow Capital’s argument

that the August 9th announcement was a corrective disclosure of

alleged misstatements made prior to IMAX’s release of its fourth

quarter financials.      The fact that Snow believed that IMAX might

have    had   a   technical   loan   default,   and   that   it   had     lost

credibility and might not be able to reap the benefits of its

optimistic future, has little bearing on whether the August 9th

announcement revealed a misstatement or omission upon which Snow

relied when purchasing IMAX stock.49             The conclusion of Lead


48
 Pl. Reply Mem. at 13 (quoting Millkey Decl., Ex. 1 at 90:8-20).
49
  In response to additional questions about whether he knew, on
August 10, 2006, that there were mistakes in IMAX’s financials
for 2004 and earlier years, Mr. Snow testified that he “assumed
[there were problems] based on, if they had a revenue
recognition problem, then the work I had previously done, the
assumptions could no longer be relied upon . . . . I can’t speak
specifically to 2004, but, clearly, there had been – at that
point, without knowing the amount, that there had been a
mismatching of revenue, that it was not in the correct period
and some revenue had the opportunity and maybe an inconsistent
basis to have been pulled forward . . . . I assumed that . . .
all of those time periods were not correct.” Millkey Decl., Ex
1 at 92:5-25.   For the reasons stated above, we disagree that
IMAX’s August 9th disclosure was an indication that all pre-
fiscal year 2005 financials may have been incorrect.
                                26
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 27 of 55



Plaintiff’s expert economist, John D. Finnerty, that “securities

analysts following IMAX . . . also remarked that the disclosures

in the [August 9, 2006] press release had adversely affected the

credibility of management,”50 is similarly unavailing.


      Second,        Snow     Capital       contends      that      the     August     9th

announcement     raised       a     cloud    of    uncertainty       that    the     SEC’s

investigation might extend back to revenue recognition problems

before   the    fourth       quarter    of     2005.      Snow     Capital     cites    an

analyst report that, after the August 9th announcement, described

the “risk of a prolonged inquiry or a potential escalation as

reason   enough       to     avoid    the    stock      for     now.”51      While     the

announcement     of     an    SEC    investigation        inevitably        raises   some

questions about its length and/or scope, in this case we do not

view such general questions as evidence of “the relevant truth

begin[ning] to leak out.”             Dura, 544 U.S. at 342.              The August 9th

announcement specifically addressed IMAX’s revenue recognition

practices for theaters in the fourth quarter of 2005 (and the

second   quarter       of    2006),     and,      as   described     above,    analysts

focused on that aspect of the announcement.                        Snow Capital does

not   cite      to     one     analyst       report      that     stated      that     the


50
   Id. at 13 (quoting Declaration of John D. Finnerty, Ph.D., In
Support of Lead Plaintiff’s Motion for Class Certification
(“Finnerty Decl.”), ¶ 25).
51
   Id. at 13-14.
                                 27
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 28 of 55



investigation       might    extend   to    pre-4Q       2005   financials,    either

within     fiscal     year    2005,    or       earlier.        Furthermore,     Snow

Capital’s argument about a fear of a potential expansion of the

SEC     investigation   appears       to   implicitly      acknowledge   that    the

market viewed the August 9, 2006 disclosure as an announcement

of an SEC investigation that was limited in its temporal scope.


        Third, Snow Capital argues that the prospect that the SEC

investigation       disclosed   in    the       August   9th    announcement   would

extend to revenue recognition problems in earlier periods was

borne out by the fact that IMAX’s ultimate restatement extended

back to 2002.52       This argument fails to show loss causation for

two reasons.


         In the first instance, the fact that IMAX restated its

financials almost a year after the August 9th disclosure does not

affect either what the disclosure said or how it was interpreted

at the time.        See, e.g., In re Take-Two Interactive Sec. Litig.,

551 F.Supp.2d at 285 (“the pertinent inquiry [for loss causation

purposes] trains on the most plausible understanding of a given

disclosure at the time it was made”)(emphasis added); see also

Lentell, 396 F.3d at 173 (to show loss causation, plaintiff must

allege that “the misstatement or omission concealed something

from the market that, when disclosed, negatively affected the
52
     Pl. Reply Mem. at 13.
                                           28
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 29 of 55



value of the security”)(emphasis added).                 As discussed above,

the most plausible understanding of the August 9th disclosure was

that     the     SEC’s     investigation     focused    on    IMAX’s   financial

accounting in the fourth quarter of 2005 (and later).


       Moreover, on March 29, 2007, IMAX announced that, based on

comments it had received from the SEC and the Ontario Securities

Commission,          it   was    expanding    its    review,     “primarily     in

connection       with     its   revenue   recognition   for     certain     theater

system installations in previous periods, including the fourth

quarter of 2005.”53             Because of this “expanded review,” IMAX

stated that it “may determine that it is necessary to restate

additional       items     beyond   the   previously    identified     errors.”54

Ultimately, the restatements for fiscal years 2002 and 2004 were

prompted by different applications of accounting practices than

those that caused the restatements in fiscal years 2005 and

2006.      The theater system revenue that was shifted from fiscal

years 2005 and 2006 primarily involved theater systems in which

revenue        was    recognized    before    a     screen     had   been     fully

installed.55         IMAX’s revenue recognition policy for the seven

theater systems in fiscal year 2005 for which revenue on an


53
   Compl. ¶ 127.
54
   Id.
55
   See Macneil Aff. at ¶¶ 38-40 (providing reasons for restating
revenue for each theater system in fiscal years 2005 and 2006).
                                 29
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 30 of 55



uninstalled    screen    was    deferred      involved    a    misapplication   of

EITF 00-21, which addresses the question of the question of what

should constitute a separate unit of accounting.                      None of the

shifted revenue in fiscal years 2002 or 2004 involved revenue

recognition related to the timing of screen installations, or

was caused by a misapplication of EITF 00-21.56                       We note the

reasons for the restatements in July 2007 not because they are

determinative of our loss causation analysis -- as stated above,

they are not.        But rather, we observe that none of the three

pre-fiscal    year     2005    theater   systems    for       which   revenue   was

restated involved the particular application of the accounting

policy that was at the core of IMAX’s MEA accounting in fiscal

year 2005, was largely responsible for the Company’s “record”

results in the fourth quarter of 2005 and, most significantly,

was   the    subject    of     IMAX’s    August    9,     2006    press   release

disclosing the SEC investigation.


56
  In 2002, revenue was shifted for one theater system which a
customer purchased for private events, but that did not open to
the general public until 2005. No certificate of acceptance was
located, and thus revenue recognition was moved to the opening
date. Macneil Aff. at ¶ 44. In 2004, revenue was shifted for
two theater systems: first, a customer encountered an issue with
a projector after installation was complete, and thus revenue
recognition was shifted to when the issues were resolved and
when an amendment was signed reducing the price; and second, a
customer exercised a relocation and reinstallation provision and
thus recognition was moved to the quarter of reinstallation.
Id. at 46.
                                         30
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 31 of 55



      Fourth,    Snow        Capital       argues   that    a     plaintiff     need    not

establish loss causation on a motion to certify a class, and

that it is sufficient for plaintiffs to establish that loss

causation can be shown on a class-wide basis.57                       However, as Snow

Capital   itself        notes,       its     argument     about    establishing        loss

causation on a motion to certify a class is directed to the

question of predominance under Rule 23(b) -- not a proposed lead

plaintiff’s typicality, adequacy, or standing.58                          Cf. In re Flag

Telecom   Holdings,          574    F.3d     at   39-40    (whether       proposed     class

representative         can    show    loss    causation      is    relevant     for    Rule

23(a)’s   typicality          and    adequacy       requirements,         and   does    not

implicate the predominance analysis under Rule 23(b)).                           None of

the   cases     that    Snow       Capital    cites     address     the    here-relevant

questions of whether a class can be certified with a proposed

class representative who may lack standing to bring a claim

under § 10(b) in its individual capacity, or may, at a minimum,

be subject to unique defenses.59                  If Snow Capital is atypical, or


57
   Pl. Reply Mem. at 14, 16-19.
58
    See Id. at 18, n.19.
59
   See In re Initial Pub. Offering Sec. Litig., 260 F.R.D. 81, 106
n.214 (S.D.N.Y. 2009) (approving proposed settlement where
defendants stipulated to class certification, and considering
loss causation in the context of Rule 23(b) predominance); In re
Salomon Analyst Metromedia Litig., 544 F.3d 474, 478 n.1 (2d
Cir. 2008) (addressing loss causation in context of Rule 23(b)
predominance analysis)”; Darquea v. Jarden Corp., No 06 Civ. 722
(CLB), 2008 WL 622811, at *4 (S.D.N.Y. 2008)(same); In re Alstom
SA Sec. Litig., 253 F.R.D. 266, 279 (S.D.N.Y. 2008) (addressing
                                 31
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 32 of 55



lacks standing, it cannot be designated class representative,

irrespective of any predominance analysis.60


     Fifth, Snow Capital argues that where a plaintiff alleges

that losses were the result of a sustained course of conduct, a

“class need not be represented by an investor who purchased at

each point during the class period.”61        While we agree with this

general proposition, it does not apply to the situation at bar.

The cases cited by Snow Capital generally address the question

of whether a proposed class representative who purchased his

stock before the end of a class period can represent subsequent

purchases within the class62 -- not whether a proposed class


loss causation in context of Rule 23(b) predominance analysis,
after a separate determination of lead plaintiff’s standing).
60
   Here, we find In re Impax Labs., Inc. Sec. Litig., 2008 WL
1766943 (N.D. Cal. Apr. 17, 2008) instructive.    In Impax Labs,
the lead plaintiff in a securities fraud class action purchased
all of its shares in defendant Impax before Impax made an
alleged misstatement concerning its financial results in the
first quarter of 2004. The lead plaintiff then sold all of its
shares after Impax issued a disclosure that the court found only
addressed the second quarter of 2004, and before there was any
corrective disclosure concerning Impax’s first quarter financial
statements. The court thus found that the lead plaintiff lacked
standing because it could not demonstrate that it suffered an
injury in fact. Impax Labs, 2008 WL 1766943, at *7.
61
  Pl. Reply Mem. at 10.
62
   In re Vivendi Universal, S.A., 242 F.R.D. 76, 87 (S.D.N.Y.
2007) (class can be represented by plaintiff who purchased
shares prior to close of the class period); Nicholas v.
Poughkeepsie Sav. Bank/FSB, No.90 Civ 1607 (RWS), 1990 WL
145154, at *5-6 (S.D.N.Y. Sept. 27 1990)(same).     Snow Capital
also cites In re CitiGroup Inc. Bond Litig., 2010 WL 2772439, at
                               32
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 33 of 55



representative either lacks standing to bring a claim in its

individual capacity, or is subject to unique defenses on loss

causation grounds.        Cf. Impax Labs, 2008 WL 1766943, at *7 (case

law holding that lead plaintiff can represent a class regardless

of the timing of its individual transactions does not apply when

lead plaintiff cannot demonstrate individual standing).                    None of

the cases that Snow Capital cites involve a situation comparable

to that with which we are faced here: a Complaint in which the

central    allegation      involves      financial    results    in    a     single

quarter;   a    proposed   class    representative      who   made     his   final

purchase   of    shares    prior    to      the   announcement    of   financial

results in that quarter; an alleged corrective disclosure that

specifically     discloses     an     SEC     investigation     into   financial

results in that quarter (and later); and an alleged accounting

fraud that evolved in significant ways -- especially when viewed




*14 (S.D.N.Y. July 12, 2010), which held that named plaintiffs
who purchased securities in only some of 48 offerings had
standing to represent other purchasers where all purchasers
“suffered from the same alleged injury.”       In that case, the
court found that purchasers suffered from the “same alleged
injury” where actionable statements or omissions in an initial
“shelf   registration  statement”   were   incorporated  in  all
subsequent registration statements. Snow Capital cannot make a
similar claim with respect to alleged actionable misstatements
in IMAX’s financials and other statements.


                                         33
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 34 of 55



in the context of the August 9th disclosure -- throughout the

proposed class period.


        In this context, we disagree that the alleged fraud was the

standard “sustained course of conduct,” or “common scheme to

defraud,”63 to the limited extent that those terms are generally

used to justify the appointment of a class representative who

purchased prior to the end of the class period.                      Clearly, the

claims in this case all involve alleged fraud relating to IMAX’s

recognition      of   theater     system    revenue,    and   thus   there    is   a

common thread throughout the allegations in the Complaint.                     But

the     application      of   IMAX’s   revenue   recognition     policy   changed

throughout the class period, and the first corrective disclosure

addressed alleged misstatements issued after Snow’s purchases.

Snow Capital claims that because it “purchased IMAX securities

during the Class Period,” its “claims are, therefore, not only

similar to those of the other members of the Class; they are

virtually identical.”64           This conclusion assumes that which a

proposed class representative must prove.


        We   recognize    that   Snow   Capital    is   likely    not   the   only

potential class member whose final purchase was prior to the

February 17, 2006 announcement and who sold shortly after the


63
     Pl. Reply Mem. at 10.
64
     Pl. Mem. at 9.
                                           34
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 35 of 55



August 9th disclosure and thus, in that respect, its claims are

not completely “unique.”        Nevertheless, under In re Flag Telecom

Holdings we find it appropriate to consider whether certain loss

causation defenses -- including those that may apply to more

potential class members than just Snow Capital –- may, at a

minimum, threaten to become the focus of this litigation.                   The

proposed class representative in In re Flag Telecom Holdings was

certainly not the only “in and out” shareholder in the class,

and   the   Second   Circuit    ultimately    excluded    all    in   and   out

traders from the definition of the class.                Here, it is worth

noting that in seven of the eight complaints originally filed in

this action, the class period began on February 17, 2006 and

thus would not have even included Snow Capital.65               Of the seven

movants     who   sought   to   be   named   lead   plaintiff,    only      Snow

Capital’s claims appear to raise these particular loss causation

issues.     Five of the six other movants purchased shares after

IMAX announced its 4Q 2005 financials on February 17, 2006.66



65
   Kaplan v. Gelfond, 240 F.R.D. 88, 91 (S.D.N.Y. 2007). Seven of
those eight complaints proposed a class period from February 17,
2006 through August 9, 2006.      The eighth complaint proposed a
class period of October 28, 2004 through August 9, 2006. As we
noted at the time, “had we relied upon the shorter class period
. . . Snow Capital would have purchased zero shares during the
period, and consequently would not have had any losses.” Id. at
93 n.6.
66
   See Id. at 90 n.2; Dkt. No. 7, Ex. B, at 3-6, Dkt. No. 12, Ex.
A, at 5-9, Dkt. No. 22 at 10-13, Dkt. No. 26, Attachment A, at
                                 35
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 36 of 55



      Sixth,        Snow    Capital       argues     that    it    has    established            loss

causation       through       the        declaration        of     its    expert,         John    D.

Finnerty.67         But Dr. Finnerty’s declaration adds little to the

question       of    whether       the    August     9th    announcement         served      as     a

corrective disclosure for Snow Capital, which bought all of its

shares prior to the February 17th announcement of the fourth

quarter 2005 financials.                  Dr. Finnerty devotes much of his loss

causation analysis to the question of whether the August 10th

drop in IMAX’s stock price can be attributed to the disclosure

of the alleged fraud (as opposed to the disclosure of other

negative       information         in     the   August       9th     announcement),68             and

concludes that the August 10th drop “was substantially caused by

the disclosures in IMAX’s press release issued just after the

close     of    trading       on    August      9,    2006        that    were       related      to

plaintiff’s          allegations.”69            Thus,       Dr.      Finnerty’s           analysis

supports the argument that there is a class of IMAX purchasers

for   whom     the       August    9th    announcement           served   as     a    corrective

disclosure          --     something       we   already           held    when       we     denied

defendants’ motion to dismiss the Complaint.                               See In re IMAX

Sec. Litig., 587 F.Supp.2d at 485-86.

3-4.     The sixth movant, Steelworkers Pension Trust, purchased
its shares before August 9, 2006, but it is unclear when it
sold. See Dkt. No. 18 at 4.
67
   Pl. Reply Mem. at 14.
68
   See Finnerty Decl., ¶¶ 27-34.
69
   Id. at ¶ 9.
                                 36
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 37 of 55



       Seventh, in a June 14, 2010 letter submission to the Court,

Snow Capital argues that the defendants’ loss causation argument

“has already been considered and rejected by the Court.”70                     We

disagree.       In our opinion denying defendants’ motion to dismiss

the Complaint, we held that “the SEC inquiry related directly to

the misrepresentations alleged in this case-the application of

multiple       element      accounting   to   theater   system   revenue-and

culminated in the restatement of IMAX’s earnings and revenues

for fiscal years 2002 through 2005.”              In re IMAX Sec. Litig.,

587 F.Supp.2d at 486 (emphasis added).             As discussed above, the

fact    that    the   SEC    investigation    ultimately   culminated     in   a

restatement dating back to fiscal year 2002 does not change what

the August 9, 2006 disclosure actually revealed at the time.71



70
 See Snow Capital’s June 14, 2010 Ltr., at 3.
71
  Furthermore, we were presented with different loss causation
issues at the motion to dismiss stage, including (1) whether the
disclosure of the SEC investigation was a corrective disclosure
for loss causation purposes; (2) whether IMAX’s denial of
accounting irregularities negated loss causation; (3) whether an
increase in stock price following IMAX’s restatement on July
2007 negated loss causation; and, more broadly, (4) how the set
of alleged corrective disclosures, viewed together, affected the
loss causation analysis.     See In re IMAX Sec. Litig., 587
F.Supp.2d at 485.     None of these issues affect the present
analysis: (1) we have already held that the announcement of the
SEC investigation can be a partial disclosure of an alleged
fraud -- the relevant issue now is whether it partially
disclosed fraud committed prior to Snow Capital’s purchases; (2)
as   we   previously   held,   “IMAX’s   denial  of   accounting
irregularities was irrelevant once the SEC inquiry had alerted
the market to their possibility” (Id.) –- IMAX’s denial plays no
                                37
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 38 of 55



    In   our   view,   the   August   9,   2006   disclosure   revealed   an

investigation into IMAX’s accounting for the fourth quarter of

2005 and the second quarter of 2006 -- not earlier periods.

This view is supported by: (1) the text of the disclosure; (2)

the most plausible understanding of the disclosure at the time

it was made, as evidenced by both the defendants’ statements

concerning its accounting policies before the disclosure, and

analyst reports issued after the disclosure; and (3) the fact

that IMAX’s application of its MEA accounting policy in fiscal

year 2005 differed from its application of accounting policies

in earlier years and that the new application of the 2005 policy

was the subject of the August 9, 2006 announcement disclosing

the SEC investigation.




role in the present loss causation analysis; (3) while our
previous opinion did not address whether the July 20, 2007
restatement was a corrective disclosure, that restatement has no
impact on Snow Capital, which sold all of its IMAX shares almost
a year earlier; and (4) our finding that “the truth here was
revealed not in a neat and tidy single disclosure” (Id. (quoting
In re Tommy Hilfiger Sec. Litig., 2007 U.S. Dist. LEXIS 55088,
at *8 (S.D.N.Y. July 20, 2007))) again does not impact the
question of whether the August 9th announcement -- the only
alleged corrective disclosure for Snow Capital –- was a partial
corrective disclosure for alleged fraud prior to the fourth
quarter of 2005. Cf. Safenet, 645 F.Supp.2d at 230 n.6 (noting
that cases in which loss causation is found based on a series of
disclosing events are not directly on point when loss causation
is alleged based on a single disclosure of a government
investigation).
                               38
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 39 of 55



       Furthermore,       even    if    we   were   to   view      the   August      9th

disclosure as corrective of alleged misstatements issued by IMAX

throughout fiscal year 2005 (and thus prior to Snow Capital’s

final purchase), which we do not, Snow Capital would still not

be   able   to    show     loss    causation     against    PWC,    whose     alleged

misstatements prior to Snow Capital’s final purchase were in its

audit opinions issued in connection with IMAX’s 10-Ks for 2002

through 2004.72         The August 9th announcement, which only mentioned

theater installations in the fourth quarter of 2005 and second

quarter of 2006, and which focused on an application of MEA

accounting       that    was     not   applied   prior     to   2005,    is    not    a

corrective disclosure for statements issued by PWC in connection

with    IMAX’s    2004    10-K.        See   Tricontinental     Indus.,       Ltd.   v.

PricewaterhouseCoopers, LLP, 475 F.3d 824, 842-43 (7th Cir. 2007)

(no loss causation where alleged corrective disclosure revealed

misstatements in company’s financial statements for years after


72
  In addition to alleging misstatements in PWC’s audit opinion,
the Complaint also alleges that PWC “is . . . responsible for
the material misinformation disseminated to the investing public
during the Class period.” Compl. ¶ 149. PWC cannot be liable
under § 10(b) for the alleged misstatements made by the IMAX
defendants that were not attributed to it at the time of their
issuance (Lattanzio v. Deloitte & Touche, 476 F.3d 147, 153 (2d
Cir. 2007) (“to state a § 10(b) claim against an issuer's
accountant, a plaintiff must allege a misstatement that is
attributed to the accountant ‘at the time of its dissemination’
. . . .” (quoting Wright v. Ernst & Young, 152 F.3d 169, 175 (2d
Cir. 1998))), and the Complaint does not make such an allegation
of attribution.
                               39
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 40 of 55



plaintiff’s             acquisition     of       stock,   but     not    for     financial

statement upon which plaintiff allegedly relied).


       In sum, because we find that Snow Capital cannot establish

loss    causation          --   and,   at    a    minimum,   is    subject      to    unique

defenses          which     may   threaten        to   become     the    focus       of    the

litigation (and which would not be the focus of the litigation

for class members who either purchased shares after February 17,

2006,    or       who    purchased     prior      to   February    17,   2006    and      held

through       a    subsequent      alleged        corrective      disclosure73)       --    we

cannot certify a class with it as class representative.


73
 The IMAX defendants rely on the expert report of Lucy P. Allen
to argue that “few investors who held IMAX stock on August 9,
2006 . . . purchased their stock prior to February 17.”     IMAX
Mem. at 16.     In her report, Allen examined public data on
institutional trading of IMAX shares and concluded that only 7%
of institutional investors who purchased IMAX stock between 4Q
2004 and 4Q 2005, as Snow Capital did, held their stock through
3Q 2006.   Allen Decl. at 32.     As Snow Capital rightly points
out, Allen’s analysis is incomplete because it fails to consider
either (1) individual trading data (according to Allen,
institutional investors held between 60% and 76% of IMAX’s float
(shares outstanding less insider holdings) from 4Q 2004 through
4Q 2005 (Allen Decl. at 31)), or (2) daily trading data (Allen
relied on quarter-end trading data (See id. at 31-32.). See Pl.
Reply Mem. at 10.        While we agree with Snow Capital’s
criticisms, we note that in the previous round of briefing on
class certification, Allen submitted a different expert report
that did review institutional and individual trading data, as
well as daily trading data. Declaration of Lucy P. Allen, Feb.
23, 2009, at 27.   In that report, Allen found that 12% of all
IMAX shares purchased on the NASDAQ between February 23, 2003
(the start of the class period) and February 17, 2006 were
retained through August 9, 2006; 6% of the pre-February 17, 2006
shares were retained through July 20, 2007, when IMAX issued its
                               40
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 41 of 55



             4. Adequacy
      Because a proposed class representative must satisfy all of

the   Rule    23(a)     requirements   (and     one   of    the     Rule     23(b)

requirements),     it    is   not   necessary     that     we     consider     the

remaining requirements for certification.             Nevertheless, we find

as an independent ground to deny class representative status

that Snow Capital has also failed to show, by a preponderance of

the evidence, that it is an adequate representative for the

proposed class.


      In evaluating whether a proposed class representative has

met rule 23(a)(4)’s adequacy requirement, we consider whether

“1) plaintiff’s interests are antagonistic to the interest of

other members of the class, and 2) plaintiff’s attorneys are

qualified, experienced and able to conduct the litigation.”                     In

Re Flag Telecom Holdings, 574 F.3d at 35 (internal quotation

omitted).


      A key element in the determination of whether a plaintiff’s

interests are antagonistic to those of other members of the

class is the relationship between the class representative and

class counsel.        See, e.g. In re Discovery Zone Sec. Litig., 169


restatement.   Id. at 28-29.     Purchasers of the 88% of pre-
February 17, 2006 shares that were sold prior to the August 9,
2006 disclosure are “in and out” shareholders who sold prior to
an alleged corrective disclosure.
                                41
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 42 of 55



F.R.D.    104,    109       (N.D.    Ill.       1996)       (“[e]ven     where   the    named

plaintiff does not expect to share directly in the attorneys’

fees, his business relationship with counsel may leave him more

interested       in   maximizing         the     return      to   his    counsel     than   in

aggressively presenting the proposed class’ action”) (internal

quotation marks omitted); Jaroslawicz v. Safety Kleen Corp., 151

F.R.D. 324, 328-30 (N.D. Ill. 1993) (certification denied where

plaintiff’s interest in the goodwill of his counsel creates a

conflict    of    interest);         5     James      W.M.     Moore     et   al.,   Moore’s

Federal Practice, § 23.25[2][b][vi] (3d ed.)(“a conflict . . .

may exist if the class representative stands to benefit directly

or indirectly from the goodwill of class counsel created through

the class action”).            The rationale behind cases in which class

certification         has     been    denied         because      of    the   relationship

between the class representative and class counsel is clear:

courts     are    concerned         that    “when       a    class      representative      is

closely associated with class counsel, he or she may permit a

settlement       less   favorable          to    the    interests        of   absent    class

members.”       In re Discovery Zone Sec. Litig., 169 F.R.D. at 108.


     When we appointed Snow Capital lead plaintiff in this class

action,    we    also       appointed      its       counsel,     Robbins     Geller,   lead




                                                42
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 43 of 55



counsel.74      Little did we know, because it was never disclosed to

this Court, that Snow Capital was also represented by another

attorney, Alfred G. Yates, Jr.              Even to this day, Yates has not

filed a notice of appearance, despite have a retainer agreement

with Snow.


       The following facts about the relationship between Snow and

Yates, and Yates’ role in the present litigation, are taken from

Snow’s    deposition,        and    the    engagement     letter      between     Snow

Capital, Yates, and Robbins Geller for representation in this

case: (1) Snow and Yates have been neighbors and friends for

between    20    and   25    years75;     (2)   Yates    has   been    one   of   Snow

Capital’s clients for six or seven years76; (3) Snow Capital

manages a significant amount of Yates’ money77; (4) Snow Capital

receives approximately $10,000 to $12,000 a year in fees from

Yates78; (5) Yates is one of approximately two or three dozen

“house accounts” at Snow Capital that, according to Snow, “are

just   people     that      have   come   in    almost   like   –     kind   of   like

friends, family”79; (6) Yates is also representing Snow in the




74
   In re IMAX Sec. Litig., 2009 WL 1905033 (S.D.N.Y. 2009), at *4.
75
   Matthews Decl., Ex. A at 39.
76
   Id.
77
   Id.
78
   Id.
79
   Id. at 40.
                                 43
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 44 of 55



other securities litigation in which Snow is lead plaintiff80;

(7)   Yates    has   “over   the   years     .   .   .   inquired   about     .   .   .

securities that [Snow] may or may not have owned and if [Snow]

would be interested in possibly being considered – if [he]’d be

interested     in    being   a   lead   plaintiff.”81       (8)   Snow    Capital’s

engagement letter for legal representation by both Yates and

Robbins    Geller      in    the   present       litigation       is     on   Yates’

letterhead, and is only signed by Yates82; (9) The engagement

letter states that if Snow Capital is “designated as a lead

plaintiff and we are designated class counsel for the class, we

will pursue the claims on a class wide basis”83; (10) There is

apparently no separate engagement letter for Robbins Geller.


      Snow Capital’s relationship with Yates raises substantial

concerns about its ability to adequately represent absent class

members.      Snow Capital tries to distinguish the line of cases in

which courts have declined to certify a class based on similar

claims of inadequate representation by claiming that “in each

there was a pre-existing financial relationship between the lead

plaintiff and lead counsel concerning the sharing of legal fees

by serving as co-counsel or working at the same firm . . . .


80
   Id.
81
   Id. at 47.
82
   Matthews Decl., Ex. C.
83
   Id.
                                        44
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 45 of 55



[h]ere, by contrast, the unequivocal evidence is that there is

no such relationship that would place Lead Plaintiff’s financial

interests above those of the proposed Class.”84                        Snow Capital’s

reading of the case law is too narrow.                         The concern is not

limited to relationships between attorneys working at the same

firm,     but    rather      is      rooted     in     a    “fear     that     a     class

representative who is closely associated with the class attorney

would allow settlement on terms less favorable to the interests

of absent class members.”             Susman v. Lincoln Am. Corp., 561 F.2d

86, 91 (7th Cir. 1977) (emphasis added).85                      In In re Discovery

Zone Sec. Litig., 169 F.R.D. 104, 109 (N.D. Ill. 1996), the

court found that proposed class representatives who served as

their     counsels’     stock       brokers     were       inadequate      because    the

“sufficiently        close     business      relationships       .    .    .   create   a

possible     conflict     of       interest.”        The    court     noted    that   the

“possibility of receiving more investment business from class

counsel”      provided       the     plaintiffs      with     “more       incentive     to

maximize fees for the attorneys than to ensure adequate recovery

for the class.”          Id. (emphasis added).                Emphasizing that the

appearance      of   impropriety       was    the    “primary        factor    mandating


84
 Pl. Reply Mem. at 5-6.
85
 In Susman, the Seventh Circuit prohibited a lead plaintiff from
being named class representative because it rented office space
from the law firm seeking to be named class counsel.     Susman,
561 F.2d at 95.
                               45
       Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 46 of 55



judicial inquiry,” the court noted that it was not suggesting

that     the   class       representatives          and    counsel        “would     turn

appearance into reality.”                Id.   But, given that there was “a

wealth    of   disinterested        investors       who   could        serve   as   class

representatives . . . the Court deem[ed] it proper to eliminate

any possible conflict of interest between the named plaintiffs

and the class.”       Id.


       Faced   with    a       similar    concern    about       the    appearance     of

impropriety,     and       a    similarly      large      pool    of     disinterested

investors who could serve as class representatives, we too find

it appropriate to eliminate any possible conflict between the

class representative and the class.                 We do not suggest that Snow

Capital’s representation would in fact be inadequate —- but the

possibility of inadequacy and the appearance of impropriety are

sufficient for us to deny certification of a class with Snow

Capital as its representative.86




86
 Snow Capital argues that Snow and Yates had “no discussions . .
. about the possibility of Yates’ investing any fee he receives
through Snow Capital,” and thus that defendants’ arguments are
“pure speculation with no basis in evidence.” Pl. Reply Mem. at
5.   We disagree: the close business and personal relationship
between Snow and Yates, and the incentives for Snow to receive
additional investments from Yates, as well as goodwill, are
sufficient to warrant a finding of inadequacy under the
circumstances of this case.   We find that this is particularly
so in light of lead plaintiff’s failure to disclose the role of
Yates in this litigation.
                               46
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 47 of 55



     Snow Capital argues that Robbins Geller has utilized Yates

in a manner that “is entirely in keeping with this Court’s Order

dated February 7, 2007 (Dkt. No. 42), authorizing the original

lead counsel in this case to ‘direct the preparation for the

trial of this matter and to delegate work responsibilities to

selected counsel as may be required in such a manner as to lead

to the orderly and efficient prosecution of this litigation and

to avoid duplicative or unproductive effort.”87                      We disagree.

This Court did not authorize a personal lawyer to a plaintiff.

There     is   no   need   for    a   lawyer   in   Pittsburgh,   which   has   no

relation to this case beyond being the hometown of Snow.88


          b. Rule 23(b) Requirements


     Because a plaintiff must satisfy all of the Rule 23(a)

requirements in order for a class to be certified, we need not

consider the Rule 23(b) requirements.               Nevertheless, in order to

streamline      potential        future   submissions    in   this    action,   we

advise the parties of our views on some of the arguments that

87
 Pl. Reply Mem. at 4.
88
  We also find troubling Snow Capital’s failure to disclose its
retention of Yates until now.     While we do not question that
Robbins Geller has prosecuted this case vigorously since its
appointment as lead counsel by this Court, or its contention
that it alone has exercised the responsibilities of lead
counsel, we note that the relationship between Snow and Yates,
and Yates’ role in this litigation, is one that should have been
brought to the attention of the Court at an earlier stage.

                                          47
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 48 of 55



have    been    raised    concerning        Rule       23(b)(3)’s         predominance         and

superiority requirements.


               1. Predominance
        In order to be certified as a Rule 23(b)(3) class action,

plaintiffs must show that “questions of law or fact common to

class     members     predominate      over       any    questions            affecting       only

individual       members.”          Fed.      R.       Civ.        P.     23(b)(3).            The

predominance      requirement         is    satisfied         “if       the    plaintiff       can

establish that the issues in the class action that are subject

to generalized proof, and thus applicable to the class as a

whole, ... predominate over those issues that are subject only

to individualized proof.”             Cordes & Co. Financial Services, Inc.

v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 108-09 (2d Cir.

2007)(internal quotation marks omitted).

        Defendants’       primary          challenge          to        the         predominance

requirement      is    that    lead    plaintiff          cannot        benefit        from    the

fraud-on-the-market           presumption         of    reliance          (the       presumption

that investors relied on misrepresentations when the market for

securities is open and developed (see Basic, Inc. v. Levinson,

485    U.S.    224,   241-42    (1998))       because      it       has       not    shown    loss

causation by a preponderance of the evidence.                                 Relying on the

Fifth     Circuit’s      decision      in    Oscar       Private          Equity       Invs.    v.

Allegiance       Telecom,      Inc.,        487    F.3d       261       (5th        Cir.   2007),

                                             48
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 49 of 55



defendants contend that in order to “trigger” the fraud-on-the-

market presumption, a plaintiff must show loss causation by a
                                         89
preponderance of the evidence.                 Defendants argue that the

Circuit’s recent decisions in In re Initial Pub. Offering Sec.

Litig., 471 F.3d 24 (2d Cir. 2006), Teamsters Local 445 Freight

Div. Pension Fund v. Bombardier, Inc., 546 F.3d 196 (2d Cir.

2008), and In re Flag Telecom Holdings, Ltd. Sec. Litig., 574

F.3d 29 (2d Cir. 2009) suggest that it “would likely adopt the

preponderance of the evidence standard” for establishing loss

causation    in   order      to    trigger    the   fraud   on   the    market

presumption at the class certification stage.90             In In re Initial

Pub. Offering, 471 F.3d at 41, the Second Circuit held that a

district court’s “obligation to make [Rule 23] determinations is

not lessened by overlap between a Rule 23 requirement and a

merits issue.”     In Teamsters Local, 546 F.3d at 202, the Second

Circuit held that “the preponderance of the evidence standard

applies     to    evidence        proffered   to    establish    Rule    23’s

requirements.”     And in In re Flag Telecom Holdings, 574 F.3d at

39-40, which we discussed above, the Second Circuit applied the

preponderance of the evidence standard in holding that an in-


89
    Defendant PricewaterhouseCoopers LLP’s, An Ontario Limited
Liability Partnership, Memorandum of Law in Opposition to
Plaintiff’s Motion for Class Certification (“PWC Mem.”), at 10-
12.
90
   Id. at 12.
                                 49
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 50 of 55



and-out trader could not be lead plaintiff because it could not

show     loss    causation.            The    Court,    however,     noted    that    its

analysis did not implicate the issue of whether a plaintiff need

show loss causation by a preponderance of the evidence at the

class     certification         stage    in     order     to   satisfy    Rule    23(b)’s

predominance requirement.               See id. at 39.

        While    the    above    cases        certainly    reflect   a    shift    toward

greater consideration of the merits at the class certification

stage, we agree with the other courts in this district that have

considered this issue and held that loss causation need not be

proven by a preponderance of the evidence in order to trigger

the fraud on the market presumption at the class certification

stage.     See, e.g., In re AIG, Inc. Sec. Litig., 265 F.R.D. 157,

181 (S.D.N.Y. 2010); Wagner v. Barrick Gold Corp., 251 F.R.D.

112, 118-19 (S.D.N.Y. 2008).


        Defendants’ other argument with regard to predominance is

that     common     issues       do     not     predominate      between     those    who

purchased prior to February 17, 2006 and those who purchased

between February 17, 2006 and August 9, 2006.91                              While this

argument        might    be     more     appropriately         directed    toward     the

commonality inquiry under Rule 23(a)(2), our holding that Snow



91
     IMAX Mem. at 25.
                                               50
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 51 of 55



Capital     cannot      be     class    representative      negates      the    need   to

address this argument at this time.


                2. Superiority


        Under Rule 23(b)(3)’s superiority requirement, plaintiffs

must show that:


        a class action is superior to other available methods
        for   fairly    and   efficiently    adjudicating  the
        controversy.   The matters pertinent to this inquiry
        include: (A) class members’ interest in individually
        controlling the prosecution or defense of separate
        actions; (B) the extent and nature of any litigation
        concerning the controversy already begun by or against
        class members; (C) the desirability or undesirability
        of concentrating the litigation of the claims in the
        particular forum; (D) the likely difficulties in
        managing a class action. Fed. R. Civ. P. 23(b)(3).
        The IMAX defendants argue that plaintiffs cannot meet Rule

23(b)’s superiority requirement because this class action is not

“superior” to the class action that has already been certified

in Canada.92        We decline to deny certification on these grounds

because, amongst other reasons, PWC is not a named defendant in

the     Canadian       class    action,     the     consolidated       complaint    here

alleges     a     significantly        longer      class   period,     the     class   as

currently defined only includes purchasers on the NASDAQ (and

thus     excludes      purchases       of   IMAX   stock   on    the    Toronto    Stock

Exchange),       and    the    IMAX     defendants     have     requested      leave   to


92
     Id. at 18-24.
                                             51
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 52 of 55



appeal the certification of the global class in Canada93 -- an

issue that is the subject of conflicting decisions in Ontario.94

At bottom, a class action in a foreign jurisdiction, applying

that jurisdiction’s securities laws, to which a named defendant

in the United States action is not a party, in which the first

complaint in the foreign jurisdiction was filed after the first

complaint in this case, is not a “superior” way of adjudicating

plaintiffs’ claims against that party for alleged violations of

U.S. securities laws -- claims which we already have upheld

against   defendants’      motions     to     dismiss.        While    the    IMAX

defendants      state   that     we    have       “already    recognized       the

exceedingly high burden the plaintiffs face in a case against

PWC,”95   any    such   burden      does    not    affect     our     superiority

analysis.96


     Defendants     cite   to   a   number    of    cases    to   support    their

argument that the Canadian class action is superior.                     None of


93
   See Millkey Decl., Ex 10.
94
    As Professor Poonam Puri, IMAX’s expert on Canadian law,
stated, there are currently “conflicting decisions in Ontario on
the issue of whether U.S. investors who purchased their shares
in the U.S. should be certified as members in an Ontario class
action.” Declaration of Professor Poonam Puri, ¶ 142.
95
   IMAX Mem. at 25.
96
   While PWC has not asserted its own “superiority” argument, it
has incorporated the arguments of the IMAX defendants. PWC Mem.
at 1 n.1.     We do not see how PWC can claim that the Canadian
class action, to which it is not a party, is a superior method
of adjudicating any claims against it.
                                52
        Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 53 of 55



these     cases    involve     a    situation       in     which    a     class   was       not

certified because a court, applying Rule 23(b), found that it

was not “superior” to a different class action in a foreign

country.97         Defendants’      reliance        on     Paraschos      v.    YBM   Magnex

Int’l., 130 F.Supp.2d 642, 646 (E.D.Pa. 2000), highlights some

of the problems with their superiority argument.                            In Paraschos,

the     court     originally       allowed     plaintiffs          to     maintain     their

securities class action but ultimately reversed course, finding

that it was “apparent that this is a securities fraud action

pertaining        to    Canadian    registered           securities,       brought     by    a

purported class of investors who are virtually all Canadian,

against predominantly Canadian defendants, concerning a Canadian

corporation        whose    stock       was    sold       only     on     Canadian     stock

exchanges.”        The court further noted that “application of United

States     securities      laws     were      not    contemplated          by   [defendant

corporation] or its investors.”                Id. at 647.              In contrast, here

we are faced with a case where all of the securities in this

action,     and    at    least     85   percent       of    the    securities         in    the


97
 We note that the IMAX defendants’ brief was submitted prior to
the Supreme Court’s decision in Morrison v. National Australia
Bank, Ltd, 130 S. Ct. 2869 (2010), and prior to lead plaintiff’s
revision of the proposed class to only include purchasers on the
NASDAQ.    Thus, while much of the IMAX defendants argument
opposes the possibility of “certified overlapping global
classes,” see, e.g., IMAX Mem. at 21, any class certified by
this Court would not lead to “overlapping global classes,” but
rather would only include those purchasers in the United States.
                                53
     Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 54 of 55



Canadian   action98,   were   sold   in   the   United   States   (on   the

NASDAQ), and application of the U.S. securities law was clearly

contemplated by both the Company and its investors.


     Furthermore, the proposed class period in this action is

significantly longer than that which has been certified in the

Canadian class action.99      Defendants argue that this difference

is “irrelevant” and contend that “there are ample reasons why

the Canadian plaintiffs would have chosen not to allege a class

period earlier than February 17, 2006 or later than August 9,

2006.100   Whatever potentially meritorious reasons the Canadian

plaintiffs had for choosing their class period, we disagree with

defendants that the substantial difference in class periods is

irrelevant to the determination of whether this class action

satisfies Rule 23’s superiority requirement.


                              CONCLUSION

     Because we find that Snow Capital cannot be named class

representative, the motion for class certification is denied.


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   See Pl. Reply Mem. at 23.
99
    Because we cannot certify a class, we decline to address
defendants’ remaining arguments concerning the scope of a
proposed class at this time. However, we note that, with regard
to in and out shareholders who purchased prior to August 9,
2006, the Complaint does not allege that any information
available prior to the August 9, 2006 disclosure “exposed the
public to the truth about [defendants’] misstatements.”   In re
Flag Telecom Holdings, 574 F.3d at 41.
100
    IMAX Mem. at 23.
                                54
      Case 1:06-cv-06128-NRB Document 148 Filed 12/22/10 Page 55 of 55




All   applications   to be   appointed lead plaintiff must        be     filed

within twenty-one (21) days.




Dated:     New York, New York

           December 20, 2010




                                  NAOMI REICE BUCHWALD
                                  UNITED STATES DISTRICT JUDGE




                                    55
